
614 S.E.2d 667 (2005)
46 Va. App. 24
Elisa Kenty ROBINSON, Appellant,
v.
COMMONWEALTH of Virginia, Appellee.
Record No. 2474-03-2.
Court of Appeals of Virginia.
June 21, 2005.
Before FITZPATRICK, C.J., and BENTON, ELDER, BUMGARDNER, FRANK, HUMPHREYS, CLEMENTS, FELTON, KELSEY, McCLANAHAN and HALEY, JJ.
Upon a Petition for Rehearing En Banc
On May 31, 2005 came the appellant, by counsel, and filed a petition praying that the Court set aside the judgment rendered herein on May 17, 2005, and grant a rehearing en banc thereof.
On consideration whereof, the petition for rehearing en banc is granted, the mandate entered herein on May 17, 2005 is stayed pending the decision of the Court en banc, and the appeal is reinstated on the docket of this Court.
The parties shall file briefs in compliance with Rule 5A:35. The appellant shall attach as an addendum to the opening brief upon rehearing en banc a copy of the opinion previously rendered by the Court in this matter. It is further ordered that the appellant shall file with the clerk of this Court *668 twelve additional copies of the appendix previously filed in this case.
